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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

SAMA CAMP, LLC,
      Plaintiff,
v.                                          CIVIL ACTION NO. 1:22-cv-01722-TCB

SAMA TEA, LLC; SAMA
WORLDWIDE INC.; SAMA
BEVERAGES, LLC; 100.CO; JAY
SHETTY; RADHI DEVLUKIA
SHETTY; KIM PERELL; and JAMES
BRENNAN,
      Defendants.

         MOTION TO STAY DISCOVERY PENDING RULING ON
                PLAINTIFF’S MOTION TO DISMISS

      After filing its Motion to Dismiss [ECF No. 25], Plaintiff agreed to move

forward with discovery while the motion was pending; however, Plaintiff was not

anticipating that, in response to the motion, Defendants Sama Tea, LLC; Sama

Worldwide Inc.; and Sama Beverages, LLC (the “Entity Defendants”) would

blatantly admit they plan to use discovery to cure the deficiencies in their

Counterclaims. Now, to curb the Entity Defendants’ planned reversal of the pleading

and discovery processes, Plaintiff requests that the Court stay all discovery deadlines

until fourteen days after it issues a ruling on the Motion to Dismiss or fourteen days

after the Entity Defendants file a court-ordered amended counterclaim, whichever is
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later.

                        PROCEDURAL BACKGROUND

         Plaintiff commenced this action on May 1, 2022, alleging that Defendants

infringed on Plaintiff’s federally registered SAMA® trademark by selling

substantially similar or identical goods under an identical trademark. See generally

ECF No. 1. Prior to serving Defendants, Plaintiff amended the Complaint to allege

additional facts and claims. See ECF No. 6. In addition to filing an answer to the

Amended Complaint, the Entity Defendants counterclaimed for cancellation of

Plaintiff’s SAMA® trademark on the bases of abandonment and fraud on the U.S.

Patent and Trademark Office. See ECF No. 18.

         On August 11, 2022, Plaintiff moved to dismiss the Entity Defendants’

Counterclaim pursuant to Federal Rule of Civil Procedure 12(b)(6) for failure to state

a claim. See ECF No. 25. Prior to the deadline for the Entity Defendants to respond

to Plaintiff’s Motion to Dismiss, the parties’ counsel agreed to move forward with

discovery while the Motion was pending. Accordingly, the parties filed their Joint

Preliminary Report and Discovery Plan on August 24, 2022. See ECF No. 30. The

parties’ discovery plan retroactively set the open of fact discovery for August 22,

2022, when both parties served their first set of discovery. Id. at 11. Fact discovery

closes on October 14, 2022, and expert discovery closes on December 22, 2022. Id.


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at 11, 12.1 Plaintiff’s responses to Defendants’ first set of discovery requests are due

September 21, 2022. See ECF No. 27; see also Fed. R. Civ. P. 33(b)(2), 34(b)(2)(A),

36(a)(3) (setting 30-day deadlines to respond to certain discovery requests).

       In their response to Plaintiff’s Motion to Dismiss, filed August 24, 2022, the

Entity Defendants improperly asserted facts not presented in their Counterclaim or

Plaintiff’s Amended Complaint. See generally ECF No. 29; see also ECF No. 34,

section (B). The Entity Defendants also requested that, in the event the Court grants

Plaintiff’s Motion to Dismiss, the Court also “grant [them] an opportunity to conduct

discovery and then amend [their] Counterclaim.” ECF No. 29 at 13. In its reply brief,

Plaintiff asks that the Entity Defendants’ request be denied, since the law does not

afford claimants the right to conduct discovery before stating a valid claim pursuant

to Federal Rules 8 and 9. See ECF No. 34, sections (A) & (F). Plaintiff now files this

motion to stay the parties’ pending discovery deadlines to comport with that

authority.

               ARGUMENT AND CITATION OF AUTHORITY

      A.     Standard of Review

      “Matters pertaining to discovery are committed to the sound discretion of the



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 The Court entered its Scheduling Order reflecting these deadlines on August 30,
2022. See ECF No. 31.

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district court . . . .” Patterson v. U.S. Postal Serv., 901 F.2d 927, 929 (11 Cir. 1990).

Accordingly, the Court has “broad discretion to stay discovery until the district court

rules on a pending dispositive motion.” Panola Land Buyers Ass’n v. Shuman, 762

F.2d 1550, 1560 (11th Cir. 1985).

      B.     A Stay of Discovery Will Prevent the Entity Defendants from
             Circumventing Their Pleading Requirements.

      Pleadings, including counterclaims, must “contain . . . a short and plain

statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P.

8(a)(2). Claims based on fraud, like the Entity Defendants’ Counterclaim, must also

meet the heightened standard of Rule 9(b), which requires that the circumstances of

the fraud be stated with particularity. Fed. R. Civ. P. 9(b). Pleadings that do not meet

these pleading standards are subject to dismissal for failure to state a claim. Fed. R.

Civ. P. 12(b)(6).

      Each of these steps—pleading a viable claim and surviving a motion to

dismiss for failure to state a claim—is required to proceed to discovery on a claim.

The Supreme Court, Eleventh Circuit, and courts across the nation recognize this

basic principle of federal procedure. 2 And yet, the Entity Defendants have openly


2
 See, e.g., Ashcroft v. Iqbal, 556 U.S. 662, 678–79 (2009) (“Rule 8 . . . does not
unlock the doors of discovery for a plaintiff armed with nothing more than
conclusions.”); Paylor v. Hartford Fire Ins., 748 F.3d 1117, 1127 (11th Cir. 2014)
(“[W]hy should parties wait until discovery to identify, with precision, the subject

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stated their intention to circumvent this process by using discovery to fill the gaps in

their poorly pled Counterclaim. Plaintiff has asked the Court to deny their request,

see ECF No. No. 34, sections (A) & (F); however, given that the pending discovery


of the litigation? That is exactly backward. Civil pleadings are supposed to mark the
boundaries for discovery; discovery is not supposed to substitute for definite
pleading.”); In re Smith, 849 F. App’x 867, 872 (11th Cir. 2021) (“Allowing a case
to proceed to discovery on a facially invalid claim ‘does nothing but waste the
resources of the litigants in the action before the court, . . . squander scarce judicial
resources, and damage the integrity and the public’s perception of the federal judicial
system.’” (quoting Chudasama v. Mazda Motor Corp., 123 F.3d 1353, 1366 (11th
Cir. 1997))); Christie v. Royal Caribbean Cruises, Ltd., 497 F. Supp. 3d 1227, 1237
(S.D. Fla. 2020) (denying plaintiff’s request for “the opportunity to conduct
discovery before amending his complaint” because such request sought to “change
the logical sequence of litigation,” since “[p]arties may not file insufficient
complaints with the hopes of receiving discovery to make them sufficient” (citations
omitted)); Migdal v. Rowe Price-Fleming Int’l, Inc., 248 F.3d 321, 328 (4th Cir.
2001) (”While Rule 8 is a liberal standard, plaintiffs cannot simply promise the court
that once they have completed discovery, something will turn up.”); Webb v.
EverHome Mortg., 704 F. App’x 327, 330 (5th Cir. 2017) (Rule 9(b) “serve[s] as a
gatekeeper to discovery and a tool to weed out meritless fraud claims sooner than
later” (citation omitted)); Agema v. City of Allegan, 826 F.3d 326, 332 (6th Cir.
2016) (“[A]llowing . . . [a] conclusory complaint to proceed to discovery runs
counter to the Supreme Court’s objective of sparing defendants the burden of a time-
consuming and expensive discovery process when the complaint is defective.”);
16630 Southfield Ltd. v. Flagstar Bank, 727 F.3d 502, 504 (6th Cir. 2013) (Rule 8
“prevents plaintiffs from launching a case into discovery . . . when there is no
reasonable likelihood that they can construct a claim from the events related in the
complaint.” (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 558 (2007))); Frey
v. The Town of Jackson, 41 F.4th 1223, 1243 (10th Cir. 2022) (“[I]n Twombly, . . .
the Supreme Court rejected the idea that a plaintiff may proceed to discovery armed
with just a belief that discovery might reveal facts to support his claims.”); In re BP
Lubricants USA Inc., 637 F.3d 1307, 1310 (Fed. Cir. 2011) (explaining that Rule
9(b) “acts as a safety valve to assure that only viable claims alleging fraud or mistake
are allowed to proceed to discovery”).

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deadlines could permit the Entity Defendants to receive discovery prior to the

Court’s ruling on the Motion to Dismiss, discovery must be stayed to ensure their

intentions are not actualized.

      C.     The Parties Will Not Be Prejudiced by a Stay.

      At this stage, the parties have exchanged their first set of discovery but have

not served responses and have not scheduled depositions. Moreover, because this

case not yet five months old, the parties have not expended significant resources in

bringing or defending their claims. Thus, the parties are will not be prejudiced by a

stay of discovery.

                                    CONCLUSION

      To prevent the Entity Defendants from subverting the pleading process, the

Court should require them to sufficiently plead their claims without the benefit of

discovery. Accordingly, Plaintiff respectfully requests that the Court stay all pending

discovery deadlines—including the parties’ September 21, 2022, deadline to

respond to each other’s first set of requests—until fourteen days after the Court rules

on the Motion to Dismiss or the Entity Defendants file a court-ordered amended

counterclaim, whichever is later.

      Respectfully submitted, this 13th day of September, 2022.




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             LOCAL RULE 7.1 COMPLIANCE CERTIFICATE

      I hereby certify that the foregoing Motion to Stay Discovery Pending Ruling

on Plaintiff’s Motion to Dismiss was prepared using Times New Roman 14-point

font, and otherwise conforms to the requirements of Local Rule 5.1(c) and 7.1.D.

      This 13th day of September, 2022.

                                            /s/Tayah Woodard/
                                            Tayah Woodard
